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12 GEORGE DowNING, an individual; CASE NO. Cv 99-4612
PAUL STRAUCH, an individual; RICK
13 STEERE, an individual; RICHARD
(BUFFALO) KEAULANA, an
14 individual; and BEN AIPA, an
individual; MIKE DOYLE, an

15 individual; and JOEY CABELL, an

R(MCx)

[!RUEUSEB] ORDER GRANTING
MOTION OF DEFENDANT
ABERCROMBIE & FITCH FOR
SUMMARY JUDGMENT OR, IN THE
ALTERNATIVE, FOR SUMMARY

individual, ADJUDICATION OF ISSUES
16
Plaintiffs,
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vs.
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ABERCROMBIE & FITCH, an OhiO
19 corporation; and DOES 1 through
50, inclusive,

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Defendants.
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23 Defendant's Motion for Summary Judgment or, in the

24 Alternative, for Summary Adjudication of Issues, came regularly for

25 hearing on Monday, February 7, 2000, in the Courtroom of the

norable Manuel L. Real_ _
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_rm:evamnnmnnsmummmsr 113 F\EQ§J'IRED B`!' FRCP, RULE 77(\1}.

 

 

 

 

 

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After due consideration and the Court having concluded,
d

pursuant to Fed. R. Civ. P.'Rule 56{d), that certain issues are

without substantial controversy,
IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

Defendant's Motion is granted on the grounds that there
are no genuine issues of material fact as to the following matters,
which are hereby deemed to be established without substantial

controversy:

l. That the First Amendment and related principles of
freedom of expression bar plaintiffs' First through Fourth Claims,

as to each plaintiff;

2. That plaintiffs' First through Third Claims, are
barred under principles of federal Copyright Act preemption as to

each plaintiff;

3. That plaintiffs' First Claim, under Cal. Civ. Code §
3344, should be dismissed under choice of law principles as to the
Hawaii-based plaintiffs George Downing, Rick Steere, Richard

(Buffalo) Keaulana, Ben Aipa and Joey Cabell;

4. That plaintiffs' Fourth Claim, under the Lanham Act,

is barred as to each plaintiff by the doctrine of nominative use;

 

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5. That plaintiffs' Fourth Claim is barred as to each

plaintiff because no genuine issues exist as to likelihood of

confusion;

6. That plaintiffs' Fourth Claim is barred as to each
plaintiff because injunctive relief is moot and no genuine issues

exist as to the prerequisites for monetary relief;

7. That plaintiffs' Fifth Claim for negligence is
barred as to each plaintiff because it is contrary to Ninth Circuit

law; and

8. That plaintiffs' Sixth Claim for defamation should
be dismissed as to each plaintiff because no genuine issue exists

as to any defamatory statements of and concerning any plaintiff.

DATED= @. rim

 

 

 

 

Submitted by:

WM

JoEL noonan sMITH [stace Béf iro. 050973]
DAVID ARONOFF [State Bar NO. 125694]
LINCOLN D. BANDLOW [State Bar No. 170449]
LEOPOLD, PETRICH & SMITH, P.C.

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Los Angeles, California 90067-3274
Telephone: 310/277-3333; Facsimile: 310/277-7444

Attorneys for Defendant

 

 

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PROOF OF SERVICE

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STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

I am employed in the County of Los Angeles, State of
California. I am over the age of 18 years and not a party to the
within action; my business address is 2049 Century Park East, Los
Angeles, California 90067-3274.

On January 14, 2000r I served the foregoing document described
as [PROPOSED] ORDER GRANTING MOTION OF DEFENDANT ABERCROMBIE &
FITCH FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, FOR SUMHARY
ADJUDICATION OF ISSUES on the interested parties in this action by
placing a true copy thereof enclosed in a sealed envelope addressed
as follows:

Brent H. Blakely, Esq.

HEWITT & MCGUIRE, LLP

865 Manhattan Beach Boulevard, Suite 204
Manhattan Beach, California 90266

I caused such envelope with postage fully prepaid to be placed
in the United States mail at Los Angeles, California. I am
"readily familiar" with the firm's practice of collection and
processing Correspondence for mailing. It is deposited with the
U.S. postal service on that same day in the ordinary course of
business. I am aware that on motion of party served, service is
presumed invalid if postal cancellation date or postage meter date
is more than one day after date of deposit for mailing in
affidavit.

An additional copy of said document was sent on the same date
to each of the addressees stated above at the specified
telefax numbers.

Executed on January 14, 2000, at Los Angeles, California.

(State) I declare under penalty of perjury under the laws of
the State of California that the above is true and correct.

X (Federal) I declare that I am employed in the office of a
member of the bar of this Court at whose direction the service

is made.
Kathrvn K. Toyama (£¥gdiovgijz\/
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Type or Print Name

 

